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., LLESK US. DistR
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Attorneys for Plaintiff CLERK, US. DISTRICT COURT ” S E Dp
U.S. OISTR
Alexander Popov EASTERN DISTRICT OF CALIF RN
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

 

ALEXANDER POPOV, an individual, CASE NO. CIV S-02 1029 GEB DAD
Plaintiff, STIPULATION TO DISMISS COMPLAINT
WITHOUT PREJUDICE

Vv.

MICHAEL AMMAR and MIKE MAXWELL,
individuals,

Defendants.

 

 

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Stipulation to Dismiss Complaint and Action
Case 2:02-cv-01029-GEB-DAD Document 28 Filed 10/15/03 Page 2 of 5

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The parties to this action, through their counsel of record, stipulate to

dismiss the complaint and all claims for relief in this action without prejudice.

FOR PLAINTIFF ALEXANDER POPOV:

DAVIS 7 at I

Stephen L/Davis, Attorfey for Plaintiff
Alexander Popov

Date: MLeA ‘ Sy Za 8

FOR DEFENDANT MICHAEL AMMAR:
WEINTRAUB GENSHLEA CHEDIAK & SPROUL

 

_ See attached
Joshua Deutsch, Attorney for Defendant

Michael Ammar

Date:

 

FOR DEFENDANT MIKE MAXWELL:
, SENBROCK

PéterPullen, eee Mike Maxwell
Date: 9-24-03

 

 

 

 

Stipulation to Dismiss Complaint and Action
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eo NN BO Ff WD NY |—|§— DOD OO Fe ANA DB nH fF WY NH | O&O

Case 2:02-cv-01029-GEB-DAD Document 28 Filed 10/15/03 Page 3 of 5

The parties to this action, through their counsel of record, stipulate to

dismiss the complaint and all claims for relief in this action without prejudice.

FOR PLAINTIFF ALEXANDER POPOV:
DAVIS & LEONARD LLP

 

 

Stephen L. Davis, Attorney for Plaintiff
Alexander Popov

Date:

 

FOR DEFENDANT MICHAEL AMMAR:
WEINTRAUB GENSHLEA CHEDIAK & SPROUL

 

Joshua Deutsch, Aftorney for Defendant
Michael Ammar

Date: 7-al- 03

 

FOR DEFENDANT MIKE MAXWELL:
MEEGAN, HANSCHU & KASSENBROCK

 

Peter Pullen, Attorney for Mike Maxwell

Date:

 

 

Stipulation to Dismiss Complaint and Action
Case 2:02-cv-01029-GEB-DAD Document 28 Filed 10/15/03 Page 4 Qf,

United States District Court
for the
Eastern District of California
October 15, 2003

x * CERTIFICATE OF SERVICE * *
2:02-cv-01029

Popov

Ammar

 

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on October 15, 2003, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk's office, or, pursuant to prior
authorization by counsel, via facsimile.

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sacramento, CA 95814

Jack L. Wagner, Clerk

BY:
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